Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 1 of 41




                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                   )
  HOLY CROSS HOSPITAL, INC.,                       )
                                                   )     Civil Action No.: 0:24-cv-60315-
                  Plaintiff,                       )     Leibowitz/Strauss
                                                   )
  v.                                               )
                                                   )
  AMERICAN ANESTHESIOLOGY                          )
  SERVICES OF FLORIDA, INC.,                       )     FIRST AMENDED COMPLAINT FOR
  AMERICAN ANESTHESIOLOGY, INC.,                   )     DECLARATORY RELIEF AND
  NMSC II, LLC and NORTH AMERICAN                  )     DAMAGES
  PARTNERS IN ANESTHESIA, L.L.P.,                  )
                                                   )
                  Defendants.                      )
                                                   )     DEMAND FOR JURY TRIAL
                                                   )
  AMERICAN ANESTHESIOLOGY                          )
  SERVICES OF FLORIDA, INC.,                       )
                                                   )
                  Counterclaim-Plaintiff,          )
                                                   )
  v.                                               )
                                                   )
  HOLY CROSS HOSPITAL, INC.,                       )
                                                   )
                  Counterclaim-Defendant.          )
                                                   )


           Plaintiff Holy Cross Hospital, Inc. (“Holy Cross”) brings this action against Defendants

  American Anesthesiology Services of Florida, Inc., (“American Anesthesiology”), American

  Anesthesiology, Inc., NMSC II, LLC (“NMSC”) and North American Partners in Anesthesia,

  LLP (“NAPA”) (collectively, “Defendants”), based on the following allegations:

                                            INTRODUCTION

           1.     Holy Cross is bringing this case because Defendants (who are the exclusive

  providers of professional anesthesia services at Holy Cross) are using noncompete and




  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 2 of 41




  nonsolicitation clauses to severely restrict competition and to demand exorbitant payments for

  critical and understaffed patient services. Defendants seek to compel Holy Cross to retain them

  at its hospital, no matter what terms they demand, by prohibiting their providers from freely

  choosing to work at Holy Cross and thereby cutting off any other sources of anesthesia care.

  Alternatively, Defendants have demanded an exorbitant multi-million payment to waive the

  noncompetes and nonsolicitation clause.

           2.       Overall competition in a number of markets is impacted by Defendants’

  anticompetitive actions, because this is very far from a typical case involving noncompete and

  nonsolicitation     restrictions.   American    Anesthesiology      employs     approximately      24

  anesthesiologists, 25 certified nurse anesthetists (“CRNAs”) and four anesthesiologists’

  assistants (“AAs”) who work at Holy Cross, and all are bound by noncompetes. Since anesthesia

  care is necessary for all surgery, many invasive cardiac procedures, all endoscopies, and many

  other hospital services, these noncompetes and the nonsolicitation clause threaten to broadly

  interfere with operations at the hospital, deprive patients to access of care at their chosen hospital

  and doctors, and harm health care competition and the provision of hospital services in Broward

  County.

           3.       Noncompetes and nonsolicitation clauses relating to physician contracts are

  common when needed to protect (a) patient relationships the physicians may have gained by

  virtue of the efforts of their employer, (b) trade secrets, or (c) the value of extraordinary or

  specialized training. But hospital-based anesthesia providers do not have their own patients, they

  have no trade secrets, and the anesthesia providers received their training before they came to

  work for Defendants. Indeed, many have worked at Holy Cross for many years. Defendants

  utilize scheduling software, but anesthesia scheduling software products are readily available for



                                                    2
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 3 of 41




  sale and Holy Cross’ affiliates at Trinity Health already utilize such products. Therefore, there is

  no reasonable justification for these clauses.

           4.    NAPA’s conduct as described herein makes clear that it does not see the

  noncompetes or nonsolicitation clause as needed to protect it against unfair competition, but uses

  them to impede the free movement of its providers so that it can capture the value of their scarce

  services. Indeed, Rafael Cartagena, the CEO of NAPA, has referred to the providers as NAPA’s

  “assets.” But the providers are not assets to be controlled or exploited by private equity firms

  such as NAPA. The noncompetes and nonsolicitation clause should be declared void so that the

  anesthesia providers can freely offer their services to patients in need.

           5.    Defendants’ insistence on enforcing the noncompetes and nonsolicitation clause

  violate federal and state antitrust laws. Because Defendants are demanding enforcement of these

  anticompetitive clauses, Holy Cross is forced to file this litigation to seek a determination that

  these clauses are unlawful and that Holy Cross can offer employment to American

  Anesthesiology’s anesthesia providers in competition with American Anesthesiology.

           6.    The actions described herein have also been undertaken by Defendants (and a

  related local subsidiary) at another hospital affiliated with Holy Cross, St. Joseph’s in Syracuse,

  New York. St. Joseph’s has very similar claims to those brought here by Holy Cross. However,

  because the St. Joseph’s contract provides that venue for any litigation must be in the location at

  which services are provided, a separate lawsuit is being filed by St. Joseph’s in the Northern

  District of New York raising substantially the same issues as in this lawsuit.

                                            THE PARTIES

           7.    Plaintiff Holy Cross Hospital, Inc. is a faith-based, nonprofit, tax exempt

  corporation organized under and by virtue of the laws of Florida and is headquartered in Ft.

  Lauderdale, Florida.

                                                    3
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 4 of 41




           8.    Holy Cross operates a 557 licensed bed hospital in Ft. Lauderdale, Florida,

  offering a variety of inpatient and outpatient services, including cardiology and surgery.

           9.    Holy Cross has won numerous awards for its strong commitment to patient

  quality, safety, and satisfaction, including in particular in surgery and heart care.

                 a.      Holy Cross is a “Blue Distinction” hospital for cardiac surgery. Blue

                         Distinction hospitals are recognized by Blue Cross Blue Shield plans as

                         offering extremely high quality.

                 b.      Holy Cross has received four stars for quality from the Centers for

                         Medicare and Medicaid Services, better than or equal to the highest rating

                         for a hospital in Broward County. Holy Cross has long received a grade

                         from the LeapFrog Group for its successful practices reducing patient

                         harm that is superior to that of other hospitals in the area.

                 c.      Holy Cross was recently recognized by U.S. News & World Report as

                         High Performing in six areas, including knee replacement and hip

                         replacement surgeries.

           10.   Defendant American Anesthesiology is a Florida corporation based in Melville,

  New York, with its headquarters office in Melville, New York.

           11.   American Anesthesiology’s parent corporation is American Anesthesiology, Inc.

  American Anesthesiology, Inc. is a Florida corporation, based in Melville, New York.

           12.   The parent corporation of American Anesthesiology, Inc. is NMSC II, LLC, a

  Delaware limited liability company (“NMSC”) with its registered agent in Dover, Delaware. In

  2020, NMSC purchased the stock of American Anesthesiology, Inc. from MedNax Corporation.




                                                    4
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 5 of 41




           13.   NMSC is a subsidiary of North American Partners in Anesthesia, L.L.P.

  (“NAPA”). NAPA is a New York limited liability partnership, based in Melville, New York.

  NAPA’s website says that it employs 5,000 clinicians, and provides services at 400 facilities

  nationwide in 22 states. It says that it serves over 2 million patients annually and has

  approximately $1.8 billion in annual revenues. NAPA says that it is the largest anesthesia

  services provider in North America.

           14.   NAPA is the ultimate parent of American Anesthesiology. NAPA executives,

  including Peter Doerner and others, directly participated in the negotiation of the contract terms

  applicable to the relationship between Holy Cross and American Anesthesiology. NAPA

  supervises and directs the actions of American Anesthesiology. NAPA’s executives have been

  involved in detail in numerous ongoing discussions relating to the operation of anesthesia

  services at Holy Cross, including staffing issues. These executives have included Justin Crain,

  Claudio Asceri, Christopher Reed and Trent Walter. American Anesthesiology’s officers are all

  NAPA executives, including Mr. Cartagena, Mr. Crain, Beth Green, John Bugos and Rebecca

  Downey.

           15.   The operating agreement between Holy Cross and American Anesthesiology

  (since amended) (the “Agreement”) was signed by Rebecca Downey, the Vice President for

  Clinical Services for NAPA’s Southern Region. Dr. Downey also signed the First Amendment to

  the Agreement. The Second, Third and Fourth Amendments to the Agreement were signed by

  Claudio Asceri, the Vice President of Clinical Services for NAPA’s Southern Region. Notice

  under the Agreement is to be provided to Beth Green, NAPA’s Vice President and General

  Counsel.

                                  JURISDICTION AND VENUE



                                                  5
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 6 of 41




           16.   This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331, 1337(a),

  and 1367; Sections 4 and 16 of the Clayton Act, U.S.C. §§ 16 and 26; and Section 1 of the

  Sherman Act, 15 U.S.C. § 1. This Court has exclusive jurisdiction over the claims in this case

  brought pursuant to the Sherman Act and Clayton Act.

           17.   Defendants transact business in this district and are subject to personal

  jurisdiction therein. American Anesthesiology’s services are performed at Holy Cross Hospital in

  this district, and Section XV of the Agreement provides that venue shall be proper in the

  jurisdiction where the services were performed or delivered. The actions complained of herein

  and giving rise to this Complaint took place in this district. Personnel of NAPA, including Peter

  Doerner, NAPA’s Executive Vice President and Chief Development Officer, and Rafael

  Cartagena, NAPA’s CEO, have been directly involved in in negotiations relating to the provision

  of services in this District, and, as described above, other NAPA personnel have been directly

  and repeatedly involved in issues relating to American Anesthesiology’s provision of services in

  this District. Holy Cross also has maintained its principal place of business in this district, and

  faces the threat of injury in this district. Venue is proper in this district pursuant to 15 U.S.C. §§

  15, 22, and 26 and 28 U.S.C. § 1391, as well as the provisions of the Agreement.

                                    TRADE AND COMMERCE

           18.   Defendants are engaged in interstate commerce and their activities substantially

  affect interstate commerce. Millions of dollars of American Anesthesiology’s annual revenues

  for treatment of patients at Holy Cross come from sources located outside of Florida, including

  payments from Medicare and out-of-state commercial payors, including Aetna, Cigna, United

  Healthcare, Humana and others. American Anesthesiology treats a significant number of patients

  from states other than Florida, including many surgical and heart cases at Holy Cross involving

  out-of-state patients. This includes at least hundreds of thousands of dollars involving treatment

                                                    6
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 7 of 41




  of patients who reside in Florida in the winter and in other states during the remainder of the

  year. NAPA provides management services to its health care providers in 22 different states.

  NAPA clinicians treat more than 2 million patients annually across these states.

           19.   Holy Cross receives hundreds of millions of dollars of annual revenue for

  procedures requiring anesthesia from sources located outside of Florida, including payments

  from Medicare and from out-of-state commercial payors, including Aetna, Cigna, United

  Healthcare, Humana and others. Holy Cross also receives millions of dollars in annual revenues

  for the treatment of patients from out of state who receive services requiring anesthesia. This

  includes approximately 200 inpatients annually, with net revenues of thousands of dollars per

  case, and a similar number of outpatient cases, with net revenues totaling more than $1 million

  annually.

           20.   Defendants’ actions will result in a substantial reduction in competition in the

  relevant antitrust markets described below, which will substantially affect payments made in

  interstate commerce by Medicare and commercial payors, as well as payments made by the

  parties in interstate commerce.

                                      FACTUAL ALLEGATIONS

                                    The Role of Anesthesia Providers

           21.   An anesthesiologist is a physician, with four to five years of post-medical school

  training, who specializes in the delivery of anesthesia and related care of patients before, during,

  and after surgery and other procedures requiring anesthesia. Anesthesiologists also meet with

  patients and their physicians before these procedures to evaluate patients’ health and to ensure

  that patients’ anesthesia care is safe and effective. A CRNA is an advanced practice registered

  nurse with graduate level education who also provides anesthesia services often in concert with



                                                   7
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 8 of 41




  the physician team. An AA also works under the direction of an anesthesiologist in providing

  anesthesia care.

           22.   Anesthesia providers administer anesthesia so patients do not feel pain when they

  are undergoing these procedures. Prior to surgery they place invasive lines and regional nerve

  blocks. They also perform other functions, including monitoring and maintaining patients’

  normal vital signs (e.g., respirations, pulse, blood pressure, body temperature); identifying and

  treating any related emergencies that may occur before, during, or after the procedures (e.g.,

  allergic reactions to medication, bleeding, changes in vital signs); and controlling pain and

  providing other care post-procedures.

           23.   These providers play critical roles in the care of patients in every hospital, since

  anesthesia is required for all, or virtually all, surgeries and more invasive cardiac procedures, as

  well as all endoscopies, among other procedures. Other procedures which require anesthesia at

  Holy Cross include bronchoscopies and interventional radiology. Surgeries and invasive cardiac

  procedures are essential components of the services provided by virtually every hospital, to

  assure full service care to their patients. Since these procedures are the most profitable, their

  offering also helps hospital systems to be able to afford to offer to patients often unprofitable but

  necessary medical procedures.

           24.   Anesthesiologists are able to delegate certain tasks to CRNAs and AAs, while

  supervising their work, freeing up the anesthesiologists’ to provide oversite and care for several

  cases simultaneously. Therefore, CRNAs help relieve the demand for anesthesiologists

  personally performing every case.

           25.   Typically, hospitals obtain the services of anesthesia providers either by

  employing them or contracting with an independent group which employs a significant number



                                                   8
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 9 of 41




  of the anesthesia providers. Most patients are only indirect purchasers of anesthesia services,

  with the exception of any copays or deductibles.

           26.   In seeking the services of anesthesia providers, hospitals may consider both local

  and national groups. However, all of these groups depend significantly on the supply of

  anesthesia providers in the local area in which the hospital is situated. Most anesthesia providers

  are unwilling to uproot their families and relocate unless they were to receive compensation at

  levels substantially above market rates. In addition, a stable relationship with a core group of

  local anesthesia providers who know the surgeons, other proceduralists and nursing teams

  working at the hospital highly enhances the care of patients.

           27.   There is a significant shortage of anesthesia providers nationally, and that

  shortage is expected to grow. In its recent presentations, NAPA has referred to a “National

  Anesthesia Provider Shortage”. According to data provided by NAPA, job postings for

  anesthesia providers have at least doubled from October 2018 to June 2023. According to

  NAPA, the demand for anesthesia providers has significantly increased, due to more complex

  hospital cases and a higher volume of procedures performed in ambulatory surgery centers

  (“ASCs”) and other outpatient settings, increasing the number of venues requiring anesthesia

  providers. According to public sources, greater than 2,800 anesthesiologists left the work force in

  2021 and 2022. NAPA projects a shortage of over 12,000 anesthesiologists over the next decade.

  For this reason, it is very difficult for a hospital to replace an anesthesiology group.

           28.   Subspecialty anesthesia training provides additional skills which are needed to

  provide anesthesia for cardiothoracic surgeries and interventional pain. For example, cardiac

  anesthesiologists must also achieve additional board certifications in transesophageal

  echocardiography. These specialty trained services are in even more limited supply.



                                                    9
  56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 10 of 41




                       Holy Cross Agreements with American Anesthesiology

            29.   American Anesthesiology entered into an agreement with Holy Cross to provide

   anesthesia services in 2021 (the “Agreement”). The Agreement’s term has been extended several

   times, and is currently set to expire on July 1, 2024.

                                          Defendants’ Conduct

            30.   The Agreement has imposed unreasonable payment requirements on Holy Cross

   in numerous respects:

                  a.       American Anesthesiology directly charges patients, Medicare, Medicaid,

                           and managed care plans for its providers’ services, but requires that Holy

                           Cross subsidize its services, i.e. pay the difference between the revenues

                           collected by American Anesthesiology and its “expenses,” defined as the

                           amounts it pays to anesthesia providers plus an overall fee (comprising an

                           administrative fee, a clinical oversight fee, and a fee for “other expenses”).

                           That overall fee includes profits. In 2023 that subsidy amounted to more

                           than $3 million.

                  b.       Under the parties’ agreement, American Anesthesiology is not obligated to

                           take adequate steps to maximize its revenues. Thus, for example,

                           American Anesthesiology has no obligation to make reasonable efforts to

                           collect the sums owed it. Nor does it have an obligation to minimize

                           denials of claims submitted to managed care plans, Medicare or Medicaid.

                           American Anesthesiology could take a number of steps to minimize

                           denials, including negotiating its managed care contracts to appropriately

                           address denial issues, appealing denials of claims and establishing

                           procedures so that its providers adequately document their work so as to

                                                     10
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 11 of 41




                         minimize the likelihood of denials. There are no such obligations

                         contained in the Agreement, and Defendants have been unwilling to agree

                         to benchmarks that would assure that they are adequately performing these

                         functions.

                  c.     American Anesthesiology’s costs for clinical providers are unreasonably

                         high because Defendants rely excessively on temporary anesthesia

                         providers (“locum tenens”) to fill permanent gaps in their staffing at Holy

                         Cross. Locum tenens providers are paid far higher than typical rates for

                         employed providers. These factors have significantly increased the costs

                         of anesthesia services to Holy Cross.

            31.   Additionally, the use of locum tenens anesthesia providers is inherently less

   satisfactory than the use of permanently employed anesthesia providers. This is because the

   locum tenens physicians are temporary and do not have ongoing relationships with the surgeons

   and other physicians who perform the procedures that require anesthesia. These physicians

   would prefer to use hospital-based anesthesiologists they know and trust rather than to work

   extensively with locum tenens physicians.

            32.   The amount charged by American Anesthesiology has become significantly

   greater over time. Required payments to American Anesthesiology have increased from no

   subsidy in 2021 to a subsidy in 2024 at an annualized rate of almost $4 million. The current

   subsidy is budgeted at $3.9 million. Holy Cross does not dispute that it owes the subsidy under

   the Agreement, but the growth is further evidence of Defendants’ ability to impose high costs

   due to their market power and the effects of the noncompete clauses and nonsolicitation clause.




                                                  11
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 12 of 41




            33.   These reimbursement terms, and the levels of reimbursement obtained by

   Defendants, are substantially above the levels that would be paid in a competitive market.

   Defendants are able to obtain these levels of reimbursement only because of their elimination of

   competition through the enforcement of their noncompetes and the nonsolicitation clause.

            34.   American Anesthesiology has also refused to provide a detailed breakdown of its

   costs to Holy Cross, which would permit Holy Cross to evaluate whether those costs were

   excessive.

            35.   Defendants have been consistently unable or unwilling to adequately staff all

   Holy Cross procedures that require anesthesia, and have not made either commercially

   reasonable or best efforts to do so. For example, Holy Cross on a regular basis has “add on”

   surgery cases added to its pre-existing surgery schedule. This reflects emergency cases coming

   through the emergency department as well as urgent cases involving patients who are in the

   hospital. Holy Cross keeps an “add on” team of nurses and operating room technicians available

   to address those cases, and Defendants are expected to provide anesthesiologists for those cases.

   However, on a regular basis, Defendants have not had anesthesia providers available for these

   cases because they have chosen to forego the expense of keeping physicians on-call to address

   these cases. On other occasions, Defendants have simply informed Holy Cross that previously

   scheduled cases could not be staffed.

            36.   This seriously interferes with hospital operations. It causes significant damages to

   Holy Cross, because Holy Cross has been forced to delay cases and to pay surgical staff to be on

   hand for these cases, which are often canceled only at the last minute based on American

   Anesthesiology’s last minute information on its inability to staff those cases. Defendants’

   practices in this regard are not commercially reasonable and do not reflect their best or



                                                   12
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 13 of 41




   reasonable efforts. As a result, American Anesthesiology has been in continuous breach of its

   contract with Holy Cross.

            37.   There have also been frequent failures to provide anesthesia coverage for

   bronchoscopies. Similar problems have occurred with regard to cardiac procedures in Holy

   Cross’ cath lab and EP lab.

            38.   Defendants’ service and performance is below the level that would be provided in

   a competitive market.

            39.   As a result of the unreliability of Defendants’ anesthesia staffing, Holy Cross has

   had difficulty in maintaining the trust of its surgeons and other physicians performing procedures

   requiring anesthesia. This has caused significant harm to Holy Cross’ ability to attract and retain

   cases from surgeons, cardiologists and other physicians who perform procedures which require

   anesthesia.

            40.   The Agreement does not provide any penalties for American Anesthesiology in

   the event that it fails to adequately staff Holy Cross. Defendants have refused to accept

   responsibility for inadequate staffing.

            41.   NAPA has faced controversies regarding its understaffing of hospital anesthesia

   services in numerous markets. For example, these same understaffing problems have been

   identified by Cooperman Barnabas Medical Center in Livingston, New Jersey and Renown

   Regional Medical Center in Reno, Nevada.

            42.   Many of the anesthesia providers employed by Defendants are not happy with

   Defendants. One of the reasons is that American Anesthesiology and NAPA discourage the use

   of more sophisticated procedures such as ultrasound-guided blocks, because these procedures are

   more resource-intensive. Many of the anesthesia providers have expressed the view that they



                                                   13
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 14 of 41




   would much prefer to be directly employed by Holy Cross. But their noncompete agreements

   and the nonsolicitation clause preclude this from happening. Other providers have indicated that

   they would leave Holy Cross if they are forced to continue to work for Defendants.

            43.   Several anesthesiologists have left American Anesthesiology, because their

   compensation was inadequate. This accentuated the staffing shortfalls at Holy Cross.

                    The Effects of the Noncompetes and Nonsolicitation Clause

            44.   The characteristics of the market for anesthesia services in Broward County and

   the contracts entered into by Defendants and Holy Cross give Defendants the power to

   effectively shut off anesthesia services at Holy Cross if Holy Cross will not pay Defendants what

   they demand. This is true for several reasons. The first arises from the post term noncompetition

   clauses entered into by at least all anesthesia providers who work for Defendants at Holy Cross.

   Because Defendants’ employment agreements with their anesthesia providers who work at Holy

   Cross are confidential, Holy Cross has not had an opportunity to review those agreements or the

   details regarding the non-compete clauses contained in those agreements. However, Holy Cross

   understands that those clauses prohibit the providers from being employed at any facility or

   group (other than one affiliated with Defendants) either at Holy Cross or within a certain

   distance of Holy Cross for a period of at least one year post-employment. As a result of these

   noncompetition clauses, these providers would be unavailable to Holy Cross after the expiration

   of the American Anesthesiology contract.

            45.   Even a one year noncompete is more than sufficient to create these

   anticompetitive effects. Holy Cross cannot operate without anesthesia providers for any period of

   time.

            46.   The second reason arises from the nonsolicitation clause in the contract between

   Holy Cross and American Anesthesiology. This clause prevents Holy Cross from inducing

                                                  14
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 15 of 41




   employees of American Anesthesiology to cease their employment with American

   Anesthesiology for a period of at least one year after expiration of the parties’ contract.

            47.    Third, anesthesiologists working at other hospitals in Broward County are

   unlikely to be significantly available to Holy Cross. The Memorial hospitals are served by the

   Envision Group, which also imposes a noncompete clause on its anesthesia providers which

   would preclude their working in the local area. The same is true of the Anesco group, which is

   the exclusive provider of anesthesia services at the Broward Health hospitals.

            48.    Fourth, the extreme shortage of anesthesia providers nationally makes it

   especially difficult for hospitals to recruit additional providers.

            49.    Fifth,   the   exclusivity provisions     in   the    contracts   between     American

   Anesthesiology and Holy Cross mean that even if Holy Cross could obtain some of its anesthesia

   services elsewhere, the exclusivity clause would preclude it from doing so unless it allowed the

   contract to expire entirely.

            50.    There is no possibility that Holy Cross could obtain anesthesia services from other

   sources at the volumes needed to completely replace the services rendered by American

   Anesthesiology and therefore to operate the hospital. Any effort to replace the anesthesia

   providers at Holy Cross en masse would create impossible problems in covering the care of

   patients for the hospital. Most of American Anesthesiology’s providers at Holy Cross have

   worked at that hospital for many years, and have established close working relationships with

   Holy Cross surgeons, cardiologists and other physicians. If these physicians were forced to

   immediately work with other anesthesia providers with whom they were not familiar and the

   replacement anesthesia providers were not familiar with the hospital facilities, this would cause a

   significant disruption at Holy Cross, and would also make it more likely that many of these



                                                     15
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 16 of 41




   surgeons, cardiologists, OB/GYNs and other proceduralists would shift some or all of their cases

   to other hospitals. This would harm both Holy Cross and overall competition in the market.

            51.    For all these reasons, if Holy Cross sought to end its arrangement with Defendants

   without the opportunity to seek to employ Defendants’ anesthesia providers, it would be faced

   with a critical shortfall in anesthesia care.

            52.    At best, Holy Cross would be able to staff the hospital with locum tenens

   anesthesia providers, at rates even more expensive than what is charged by Defendants.

   Moreover, this would eliminate the continuity in anesthesia care which is valued by surgeons,

   cardiologists and other physicians performing the procedures that require anesthesia. And it is

   unlikely that a sufficient number of locum tenens providers could be obtained in order to fully

   staff the hospital. Therefore, a significant loss of procedures would be inevitable.

            53.    This shortfall would both seriously harm patients needing care which requires

   anesthesia and cost Holy Cross critically needed funds. Surgeries and heart procedures are

   among the activities creating the greatest margin for hospitals, and are needed by Holy Cross in

   order for it to remain in business. In calendar year 2023, Holy Cross earned approximately $75

   million in contribution margin from surgeries, heart procedures and other procedures requiring

   anesthesia care. Without the ability to provide surgeries and other procedures requiring

   anesthesia care, Holy Cross would face an impossible financial situation that would not allow it

   to remain in operation.

            54.    Defendants’ noncompetes with the Holy Cross anesthesia providers and the

   nonsolicitation clause therefore significantly enhance Defendants’ market power. Because Holy

   Cross has no adequate substitutes for its existing anesthesia providers, Defendants are able to

   demand higher than competitive rates and contract terms, because they know that the



                                                    16
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 17 of 41




   noncompetes and nonsolicitation clause preclude Holy Cross from accessing any realistic

   alternative to Defendants’ anesthesia providers.

            55.   In contrast to the $75 million at stake if aesthesia care is not available, Holy Cross

   total payments to Defendants for anesthesia services for the same period were approximately $3

   million. This imbalance further illustrates why Defendants have such power over Holy Cross.

   Holy Cross is forced to pay exorbitant amounts to Defendants, because otherwise it faces losses

   that would dwarf the amount paid for anesthesia care.

            56.   Defendants’ insistence on enforcement of their noncompetes and nonsolicitation

   clause forced Holy Cross until 2024 to accept the unreasonable terms demanded by Defendants,

   to pay exorbitant amounts for anesthesia services, and to accept the staffing inadequacies and

   shortfalls engaged in by Defendants. This damaged Holy Cross in the millions of dollars.

                                     The Effect of Private Equity

            57.   NAPA is an example of “private equity” firms operating anesthesia practices.

   NAPA is owned by two well-known private equity firms, American Securities of New York City

   and Leonard Green & Partners in Los Angeles. Many of NAPA’s directors are private equity

   executives.

            58.   Private equity firms operate on a business model which involves the purchase of

   businesses, their operation for a few years at high profits, and then their resale. These profits are

   necessary to pay the interest on debt incurred through purchase of these entities. As a result,

   private equity firms, and the medical practices owned by private equity firms, have an incentive

   to underprovide care and to overcharge their customers in order to quickly earn unusual returns.

   A recent study found that more than 20% of the purchases of physician practices by private

   equity firms involved anesthesia groups. A study published by the Journal of the American

   Medical Association Internal Medicine in February 2022 analyzed more than 2 million

                                                    17
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 18 of 41




   anesthesia claims from 2012 through 2017. The researchers found that costs rose by 26% after

   anesthesiology practices were taken over by private equity firms.

                      Holy Cross’ Efforts to Improve Its Anesthesia Coverage

            59.   Because of its problems with NAPA, on December 29, 2023, Holy Cross and its

   affiliate St. Joseph’s informed Defendants that they wished to attempt to negotiate either a new

   contract that appropriately shared the risks of underpayment, inadequate staffing and excessive

   costs between the parties, or negotiate an agreement that would allow Holy Cross and St.

   Joseph’s to make offers to American Anesthesiology’s providers without any claim by American

   Anesthesiology relating to its noncompetes or the nonsolicitation clause.

            60.   In response, Defendants took the position that they were not interested in a new

   contract that would share risk. They stated that they were willing to negotiate a “buy out”, but

   only at excessive terms, equal to a payment of more than $10 million. Defendants indicated that

   they would be willing to reduce this payment requirement by a modest amount to the extent that

   St. Joseph’s and Holy Cross employed them to manage the anesthesia practices even after the

   providers were employed by Holy Cross and St. Joseph’s.

            61.   In response to Holy Cross’ and St. Joseph’s expressions of great concern and

   request for a reasonable offer, Defendants’ agreed to reduce their buyout demand to a smaller,

   but still exorbitant number, to what they described as a “20% discount” to $8.921 million. But

   Defendants also demanded that along with these buyouts, that they be paid under a management

   services agreement at St. Joseph’s, Holy Cross and their affiliate Samaritan Hospital, in Troy,

   New York.

            62.   Defendants said that if the services agreements were continued with these

   hospitals, they would expect a three year contract, without any caps on the subsidies they

   received, without any shared risk if the subsidies grew, without any provisions addressing

                                                  18
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 19 of 41




   adequate steps to limit denials by insurers and without any of the other protections that St.

   Joseph’s and Holy Cross requested so that the contract would be reasonable. Defendants also

   demanded a 5% escalator clause.

            63.    Significantly, NAPA justified its demand for these huge payments by citing the

   shortage of anesthesia providers and the noncompete clauses. Mr. Cartagena of NAPA made it

   very clear that his demands were based upon the existence of the noncompetes and NAPA’s

   willingness to enforce them. In fact, he referred to the anesthesia providers as NAPA’s “assets.”

   Of course, noncompetes are not justifiable as vehicles to impede the free movement of

   physicians or to make them a company’s “assets.” Mr. Cartagena stated that NAPA had received

   comparable or larger payments from other hospitals.

            64.    This demand does not bear any relationship to any conceivable claim of loss that

   Defendants would suffer due to unfair competition resulting from the hiring of the anesthesia

   providers by Holy Cross. In fact, there would not be any such losses, since there is no prospect of

   unfair competition. The demanded payment in fact exceeds the revenues paid to Defendants

   under the Agreement. The exorbitant nature of the demand thus reflects Defendants’ effort to

   exercise their market power resulting from the existence of their noncompetition clauses and the

   nonsolicitation clause. That effort is highly likely to succeed, but for this litigation.

            65.    Because of Defendants excessive demands, the parties were unable to reach an

   agreement.

            66.    Defendants’ demand for a buyout made clear that they would not waive the

   noncompetes and nonsolicitation clause, and would act to enforce them, absent the exorbitant

   payment demanded for the buyout. In a number of other cases, NAPA and its affiliates have sued

   to enforce the employment agreements when Hospitals have sought to employ their doctors. See,



                                                     19
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 20 of 41




   e.g., American Anesthesiology of N.J., P.C. et al. v. Cooperman Barnabas Med. Ctr. et al., No.

   ESX-L-004310-22 (Essex County Ct. 2023); N. Am. Partners in Anesthesia (Maryland), LLC v.

   Mack et al., No. C-13-cv-23-000615 (Md. Cir. Ct. 2023); N. Am. Partners in Anesthesia

   (Virginia), LLC v. Inova Health Care Servs., No. CL-2022-0004271 (Va. Cir. Ct. Fairfax County

   2022); Southeast Anesthesiology Consultants, PLLC et al. v. The Charlotte-Mecklenburg

   Hospital Authority et al., No. 18-cvs-5899 (N.C. Sup. Ct. 2018).

                            Holy Cross’ Actions and the Need for Litigation

            67.    In order to avoid these staffing and payment problems, and because of its inability

   to obtain reasonable terms from Defendants, Holy Cross therefore offered employment to the

   anesthesia providers working at its hospitals, effective on expiration of the Agreement on July 1,

   2024.

            68.    Many of American Anesthesiology’s providers have agreed to become employed

   by Holy Cross, effective on July 1, 2024. In response, American Anesthesiology has filed a

   Counterclaim in this case, claiming that Holy Cross violated the nonsolicitation clause between

   the parties and tortiously interfered with the noncompete clauses American Anesthesiology has

   with its providers.

            69.    American Anesthesiology has not as of now directly sued any of its providers, but

   it has not ruled out the possibility that it will do so in the future.

            70.    Therefore, American Anesthesiology is proceeding to enforce both the

   nonsolicitation clause and noncompete clauses by acting against Holy Cross, the most likely

   employer of these anesthesia providers.

                                   Relevant Antitrust Service Markets

                                    Hospital-Only Anesthesia Services



                                                       20
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 21 of 41




            71.   One relevant service market in which to assess the challenged conduct is the

   market for professional anesthesia services provided in community (nonacademic) hospitals.

   This service market includes services provided by anesthesiologists, CRNAs and AAs. It

   encompasses (1) all inpatient anesthesia services, including surgical and cardiac anesthesia

   performed while the patient is admitted to a hospital; and (2) any other anesthesia services that

   are provided in a hospital setting.

            72.   The relevant market excludes anesthesia services that are provided outside a

   hospital setting. Non-hospital settings are not good substitutes for the surgical and cardiac

   procedures (most of the procedures requiring anesthesia) performed in hospitals, and as a result

   anesthesia services provided in a non-hospital setting are not a substitute for hospital-based

   anesthesia services.

            73.   Whether a patient receives anesthesia in a hospital or nonhospital setting is not

   determined in any way by the cost of anesthesia providers. Patients receive surgery or heart

   procedures on an inpatient basis (requiring an overnight stay) based solely on the seriousness of

   the procedure and/or the characteristics of the patient (e.g. whether the patient is old, infirm or

   has comorbidities). Cases are only performed on an inpatient basis when that is viewed as

   medically required, because the cost of inpatient care is many times the cost of outpatient care.

   Moreover, anesthesia care, as described above, is a small fraction of the cost of the surgeries and

   other procedures for which anesthesia is necessary.

            74.   Similarly, patients often receive outpatient surgery at the hospital rather than at an

   ambulatory surgery center or other nonhospital setting (even for procedures which are sometimes

   performed outside the hospital), because the patient’s characteristics (age, infirmity or




                                                   21
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 22 of 41




   comorbidities) make it medically prudent to have ready access to a hospital’s emergency

   facilities and other backup services.

            75.   Because the cost of anesthesia is only a small fraction of the cost of the

   procedures requiring anesthesia, no purchaser of anesthesia services would move a procedure

   from the hospital to non-hospital setting as a result of an increase in the price of anesthesia

   services.

            76.   The Centers for Medicare and Medicaid Services (“CMS”) maintain a list that

   distinguishes between hospital-only and other anesthesia services for governmentally insured

   patients. The list identifies anesthesia billing codes that may be used for ambulatory surgical

   centers. All other anesthesia codes must be billed in a hospital setting. Commercially insured

   patients generally face similar billing rules, either formally or because hospitals adopt CMS

   policy to remain certified for government insurance programs.

            77.   Alternatively, the relevant service market is the market for employment of

   anesthesia providers in hospitals.

            78.   Hospital-only anesthesia services require providers to practice under conditions

   distinct from non-hospital services. Hospitals often need anesthesia providers to cover long shifts

   and provide overnight call. Unlike non-hospital procedures, which are scheduled in advance,

   procedures performed during overnight call are often hospital-only or inpatient services, such as

   anesthesia for emergency surgery.

            79.   Anesthesia providers providing pain management services or working at

   outpatient centers such as ambulatory surgery centers are not reasonable substitutes for

   anesthesia providers working in the hospital. That is because hospital services require providers

   who are willing to undertake more intensive cases and be available on-call for unanticipated



                                                   22
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 23 of 41




   cases. Many anesthesia providers working in the non-hospital outpatient setting are unwilling to

   undertake these additional duties and responsibilities.

            80.   Additionally, ASCs generally pay more for anesthesia providers because they

   have more higher paying cases reimbursed at higher rates by commercial insurers. As a result,

   for this reason as well, anesthesia providers working in ASCs are not reasonably interchangeable

   with hospital-based providers. It would require higher than competitive payments that exceed the

   current compensation of ASC-based anesthesia providers to attract them to practice at hospitals.

   But hospitals, who do not enjoy as high a proportion of higher paying commercial cases, cannot

   afford to do so.

            81.   Alternatively, even if the market were determined to include anesthesia providers

   at outpatient centers and ASCs, the numbers of such providers are too small to provide

   meaningful alternative sources of care for any hospital.

            82.   For hospitals, anesthesia groups with insufficient size or scope to provide 24-hour

   coverage and specialty anesthesia services cannot be reasonable substitutes for anesthesia groups

   operating in hospitals, which require such services. Groups serving only ASCs or other

   outpatient facilities are generally not of that size and scope.

                                    Other Relevant Service Markets

            83.   Another relevant service market in this case is the market for facilities offering

   inpatient surgical services to commercially insured patients. This market encompasses a broad

   cluster of inpatient surgical services, including orthopedics, general surgery, cardiac and vascular

   surgery, urological surgery, spinal surgery, and neurosurgery. These services are offered to

   patients by the same set of hospital competitors and under similar competitive conditions.

            84.   There is no substitute for inpatient services (which generally are defined to

   include at least one overnight stay in a hospital). Where an overnight stay is medically required,

                                                     23
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 24 of 41




   outpatient services are not an acceptable alternative. Inpatient services are far more expensive,

   and as a result a procedure would not be done on an inpatient basis unless medically necessary.

            85.   This market is a “cluster market”, comprised of a number of different services,

   which do not necessarily substitute for one another. This group of services is typically defined as

   a cluster market in healthcare antitrust cases for convenience, because, the effects described

   herein apply equally to all these services.

            86.   Another relevant service market in this case is the market for hospital facilities

   offering inpatient cardiac procedures to commercially insured patients. This market encompasses

   a cluster of cardiac procedures performed in the cardiac catheterization lab at a hospital,

   including diagnostic procedures (e.g., diagnostic cardiac catheterization and biopsy) and

   interventional procedures (e.g., TAVR and Watchmen procedures, balloon angioplasty,

   percutaneous coronary intervention), as well as electrophysiology procedures, such as atrial

   fibrillation ablations, and installation of pacemakers. For those patients whose medical

   conditions require these procedures, there are no reasonable substitutes for them. As a result, no

   managed care plan would offer insurance to patients that did not cover these procedures. These

   services are generally offered to patients by the same set of hospital competitors and under

   similar competitive conditions.

            87.   Another relevant service market encompasses hospital outpatient surgical services

   provided to commercially insured patients. This includes outpatient procedures performed in

   hospital facilities as well as procedures performed in other hospital-owned facilities. This is

   another cluster market, since all the included services are affected equally by the conduct

   described herein.




                                                   24
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 25 of 41




            88.   Many patients prefer to utilize their hospitals and their facilities for outpatient as

   well as inpatient services because they know and trust the hospital brand. Many physicians

   located on hospital campuses prefer to refer their patients needing outpatient services to facilities

   on those campuses for convenience, and often prefer to refer their patients to hospital-owned

   facilities because they share common electronic medical records with the hospitals. It is also

   more convenient and efficient for physicians to perform their surgeries, including their outpatient

   surgeries, at the same locations as their inpatient surgeries.

            89.   As a result, non-hospital facilities are not a substitute for hospitals for outpatient

   surgical care in health plans’ networks. Health plan networks need to include hospital outpatient

   surgical facilities in their networks to appeal to the significant number of patients who prefer

   those facilities, especially since employers seek networks which satisfy as many of their

   employees as possible. No health plan in Broward County has excluded hospital outpatient

   surgical services from a network in favor on non-hospital services.

            90.   One study found that ASC entry did not have a significant impact on hospitals’

   outpatient surgical volume, indicating that patients do not see surgeries at ASCs as a substitute

   for surgeries at hospitals. Another study found that hospitals obtained much larger price

   increases than ASCs for the same outpatient procedures between 2007 and 2012. According to

   another study, outpatient procedures and services delivered in hospitals are often reimbursed at a

   higher rate than those delivered at a non-hospital setting.

            91.   All of the service markets described above apply to services provided to

   commercially insured patients, because health care services provided to commercially insured

   patients are in a distinct market from those services when provided to other patients. Most

   insured consumers of health care are covered either by one of two government insurance



                                                     25
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 26 of 41




   programs (Medicare and Medicaid) or by private insurance organizations. The relevant markets

   do not include services paid for by Medicare or Medicaid, because these government programs

   fix their fees and therefore do not compete for these services. A hospital could not increase its

   volume or revenue by persuading patients to sign up for Medicare or Medicaid, because

   enrollment in these programs is limited to the elderly, disabled or underprivileged. Medicare and

   Medicaid typically pay significantly lower rates than do commercial insurers and, therefore, are

   not an alternative to them.

                            Relevant Geographic Market for Anesthesia

            92.   The relevant service markets described above are local. Because patients typically

   seek medical and hospital care close to home, they strongly prefer health insurance plans that

   provide access to networks of hospitals and physicians close to home. Additionally, patients

   desire local hospitals that are in-network in their plan without financial penalties. Employers

   offering health insurance to their employees therefore demand insurance products that provide

   access to health care provider networks in all the areas in which substantial numbers of their

   employees live. Individuals purchasing individual health insurance likewise demand insurance

   products that provide access to health care provider networks, including hospitals, in the areas in

   which they live.

            93.   The relevant geographic market for the purchase of hospital-based anesthesia

   services and employment of anesthesia providers is no larger than northeast Broward County,

   north of SR-84 and east of I-95. Traffic in the Broward County area is highly congested, and

   with the exception of travel on I-95, there are no highways that permit convenient travel either

   north and south or east and west. As a result, travel to a hospital from even 10 miles away will

   typically take 30 minutes, and potentially longer during rush hour. As a result, patients seek care

   in an extremely local area.

                                                   26
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 27 of 41




            94.   Memorial Health Care System operates a substantial number of hospitals just

   south of SR-84. But Memorial has not placed any physicians’ offices or other ambulatory

   facilities north of SR-84. That likely reflects a decision that while patients who reside north of

   SR-84 may see a physician at an office north of SR-84, such patients are unlikely to travel to

   obtain hospital care at a Memorial site south of SR-84, even if referred there by his or her

   Memorial physician, because travel to such a site is not convenient for the patient.

            95.   For the same reasons, there are a number of HCA hospitals west of I-95. But

   HCA has not invested in ambulatory sites east of I-95, likely in recognition of the fact that

   patients will not travel west across I-95 in significant numbers for hospital care.

            96.   These factors relating to traffic congestion are particularly important to physicians

   and other medical staff practicing in hospitals, such as anesthesia providers. Those providers not

   only need to travel every day to the hospital, but often need to be on call to quickly reach the

   hospital in the event of emergencies. This means that traffic congestion and travel time are

   especially significant in limiting the distances that anesthesia providers will be willing to travel

   in order to provide hospital care. For this reason, a hospital located in northeast Broward County

   would be unable to attract a sufficient number of anesthesia providers to adequately staff the

   hospital if it relied upon anesthesia providers residing outside of that area.

            97.   Hospitals select anesthesia groups for hospital contracts in northeast Broward

   County from groups with a significant portion of doctors within northeast Broward County.

   Practices currently employing primarily anesthesia providers outside northeast Broward County

   would be significantly less cost competitive in northeast Broward County due to the need to

   recruit, hire locum tenens physicians to fill in for staffing gaps on short notice, and provide travel

   and lodging for more distant providers, even assuming (which is highly unlikely) that they could



                                                     27
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 28 of 41




   find sufficient numbers of willing providers. Anesthesia providers are generally unwilling to

   move to a distant community in order to provide anesthesia care, especially in light of the

   numerous options they possess given the shortage of providers nationwide. Given the large

   number of anesthesia providers needed by hospitals, outside practices and anesthesia providers

   located outside of Broward County are not reasonable substitutes for practices with substantial

   numbers of providers located in northeast Broward County.

            98.      As a result, the available pool of anesthesia providers for northeast Broward

   County hospitals is largely limited to the providers located in northeast Broward County.

                Relevant Antitrust Geographic Market for Surgeries and Heart Procedures

            99.      The relevant geographic market applicable to facilities offering inpatient and

   outpatient surgery and heart procedures is northeastern Broward County, north of I-84 and east

   of I-95. Because of the patient travel patterns described above, no managed care plan would offer

   a network to employers or individuals in northeastern Broward County that did not include

   hospitals located in that area. Only about 40% of Broward County patients obtaining surgery

   utilize facilities outside of northeastern Broward County. To satisfy the 60% who are unwilling

   to travel, managed care plans need to contract with facilities in northeast Broward County.

            100.     A health insurer could not successfully sell health insurance products to

   employers with significant numbers of northeastern Broward County employees without

   including a choice of northeastern Broward County providers, including leading northeastern

   Broward County hospitals, in its network. As a result, there is no reasonable substitute for these

   hospitals for most patients in northeastern Broward County, for employers in northeastern

   Broward County or for managed care companies that offer their plans in northeastern Broward

   County.

                                             Market Power

                                                   28
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 29 of 41




            101.   Providing hospital-only anesthesia requires postsecondary education, including

   either a graduate post-medical degree or nursing degree, in addition to training and licensing. As

   a result, the supply of anesthesia providers is limited and cannot be increased rapidly in response

   to market trends in demand or reimbursement rates.

            102.   Recruitment of anesthesiologists is a slow process, requiring at least 12 to 18

   months to successfully recruit an additional physician even where recruitment is possible. In

   addition, new anesthesia providers must spend time being oriented to the facility, equipment and

   surgeons or other proceduralists with whom they will work.

            103.   Defendants have market power in the relevant market for anesthesia providers.

   The shortage of anesthesia providers, and the widespread existence of noncompetition clauses

   which makes anesthesia providers who are under contract unavailable, means that there is no or

   virtually no available capacity in the relevant anesthesia market. The only other hospital-based

   anesthesia providers in northeast Broward County are in Anesco, and are subject to

   noncompetes. As a result, Defendants are in a position to demand, and have demanded and

   obtained, rates higher than competitive levels because of the absence of any significant

   competition to which Holy Cross could turn for an alternative source of anesthesia care.

            104.   Mr. Cartagena’s exorbitant “buyout” demands, and his statement that NAPA had

   received similar or greater payments from other hospitals, confirms that NAPA possesses market

   power.

            105.   Despite the fact that Holy Cross is forced to pay exorbitant rates to American

   Anesthesiology, American Anesthesiology’s anesthesia providers are paid less than market rates

   by the group. This is a further indication of American Anesthesiology’s market power.

                    Anticompetitive Effects in the Relevant Anesthesia Markets



                                                   29
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 30 of 41




            106.   The noncompetes and nonsolicitation clause have caused and will continue to

   cause substantial anticompetitive effects in the relevant anesthesia markets, since they serve to

   stymie competition and increase rates and other terms of service. Enforcement of the

   noncompetes and nonsolicitation clause has and would (if successful in the future) continue to

   stymie Holy Cross’ entry into competition in the relevant anesthesia markets by employing

   anesthesiologists and providing anesthesia services at its hospital. Enforcement of the

   noncompetes and nonsolicitation clause has therefore (and would in the future) created and

   maintained Defendants’ market power.

            107.   The noncompetes and nonsolicitation clause are also unreasonable and harmful to

   competition because they interfere with patient choice, and have and would (if successful in the

   future) prevent Holy Cross physicians from utilizing their preferred anesthesiologists with whom

   they have developed long, successful working relationships.

            108.   The noncompetes also prevent entry by other firms offering anesthesia services

   into the relevant market. There are many other firms nationwide that offer anesthesia services.

   But in order to offer services in a given local area, an anesthesia provider needs to be able to hire

   anesthesia providers who live in that area, since most anesthesia providers will not be willing to

   uproot their families and move to a distant city in order to continue to practice. Because the

   Defendants’ anesthesia providers are precluded from becoming employed by other firms because

   of their noncompetes, entry into Broward County by other firms providing anesthesia care is

   effectively prohibited. The nonsolicitation clause, if enforced, would prevent entry by Holy

   Cross, the most likely entrant into the market.

            109.   The FTC has adopted a rule prohibiting the use of non-compete clauses (the

   “Non-Compete Rule”). The Non-Compete Rule goes into effect on September 4, 2024. The FTC



                                                     30
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 31 of 41




   explained in its discussion of the Non-Compete Rule that noncompetes significantly harm

   competition:

                   Concerns about non-competes have increased substantially in
                   recent years in light of empirical research showing that they tend to
                   harm competitive conditions in labor, product, and service
                   markets. Changes in State laws governing non-competes in recent
                   decades have allowed researchers to better isolate the effects of
                   non-competes, giving rise to a body of empirical research
                   documenting these harms. This research has shown that the use of
                   non-competes by employers tends to negatively affect competition
                   in labor markets, suppressing earnings for workers across the labor
                   force—including even workers not subject to non-competes. This
                   research has also shown that non-competes tend to negatively
                   affect competition in product and service markets, suppressing new
                   business formation and innovation.

   89 Fed. Reg. 38,342, 38,343 (May 7, 2024).

            110.   Litigation to enforce non-competes which is commenced prior to September 4,

   2024, is exempt from the Non-Compete Rule. But litigation thereafter is covered by the Non-

   Compete Rule.

            111.   To the extent that Defendants have not commenced litigation to enforce their non-

   competes with the anesthesia providers they employ who have worked at Holy Cross prior to

   September 4, 2024, those non-competes will be void and unenforceable under the non-compete

   rule.

            112.   Holy Cross is a direct target of Defendants’ actions. Defendants intend to enforce

   the noncompetes and nonsolicitation clause in order to prevent Holy Cross from challenging

   Defendants’ market power in the relevant anesthesia markets. The harm to Holy Cross is

   inextricably intertwined with this injury.

            113.   Defendants are only taking their anticompetitive actions because their market

   power gives them the ability to make these actions effective, and that same market power gives

   them the incentive to enforce the clauses in order to prevent further competition. Enforcement of

                                                    31
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 32 of 41




   the noncompetes and nonsolicitation clause would not be effective in restricting competition or

   allowing Defendants to make exorbitant payment demands unless Defendants had market power.

            114.   If it were not for Defendants’ market power, they would not have the ability to

   effectively threaten enforcement of the noncompetes and nonsolicitation clause absent an

   exorbitant payment. They were able to make this demand and threat because they knew that Holy

   Cross does not have alternatives to the anesthesia providers employed by Defendants. But for

   Defendants’ market power and the anticompetitive effects identified herein, enforcement of the

   noncompetes and nonsolicitation clause would not cause the substantial damages alleged in this

   Complaint.

            115.   Moreover, given the absence of any legitimate basis for the noncompetes or

   nonsolicitation clause, Defendants would not have an interest in enforcing the noncompete and

   nonsolicitation clause absent the market power and anticompetitive effects outlined herein.

            116.   Because of their enforcement of the noncompetes and nonsolicitation clause,

   Defendants have been able to harm Holy Cross, by demanding and receiving exorbitant and

   uncompetitive terms for the services they provide, and by refusing to adequately staff Holy Cross

   without fear (until now) that the contract would not be renewed, as outlined above. These actions

   reflect Defendants’ exercise of their market power made possible because of the noncompetes

   and nonsolicitation clause and Defendants’ willingness to enforce them if necessary. If this

   enforcement were to successfully continue, this exercise of market power would also continue,

   because Holy Cross would have no real choice except to succumb to Defendants’ demands, as it

   has done in the past. The imposition of exorbitant payments on Holy Cross was also

   anticompetitive because it increased health care costs overall, to the ultimate detriment of

   consumers.



                                                  32
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 33 of 41




           Anticompetitive Effects in the Relevant Surgery and Heart Procedure Markets

            117.   Enforcement of the noncompetes and nonsolicitation clause would also have

   significant anticompetitive effects in the relevant surgery and cardiac procedures markets. If

   Holy Cross ended its relationship with American Anesthesiology in order to obtain more

   reasonably priced and better staffed anesthesia services, and the noncompete clause and

   nonsolicitation clause were enforced, that would have the anticompetitive effect of diverting the

   vast majority of surgeries and cardiac procedures from Holy Cross,

            118.   There are only two competing hospital entities of any significance in the markets

   for surgeries and heart procedures, Broward Health and Holy Cross. As a result, if American

   Anesthesiology were to cease providing services at Holy Cross, Broward Health would increase

   its market share so that it would have a virtually complete monopoly in these services.

            119.   Numerous academic studies have concluded that when hospital markets become

   highly concentrated, with fewer competitors and higher market shares, prices generally increase.

                   a.     A 2011 study examined the effect of hospital market concentration on

                          specific procedures. It found that in concentrated hospital markets,

                          hospitals charged 29% more for cervical fusion, 31% more for lumbar

                          fusion, 45% more for total knee replacement, 49% more for total hip

                          replacement, 50% more for angioplasty, and 56% more for CRM device

                          insertion. James C. Robinson, Hospital Market Concentration, Pricing,

                          Profitability in Orthopedic Surgery and Interventional Cardiology, 117(6)

                          THE AM. J. OF MANAGED CARE e241, e244 (2011).

                   b.     Another 2011 study examined the effect of concentrated hospital markets

                          on hospital prices in 2001 and 2004. It concluded that “hospital prices are

                          higher in more concentrated markets” and that a “1,000-percentage-point

                                                   33
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 34 of 41




                          increase in the hospital concentration index raises prices by approximately

                          8.3 percent.” Glenn A. Melnic, Yu-Chu Shen and Vivian Yaling Wu, The

                          Increased Concentration of Health Plan Markets Can Benefit Consumers

                          through Lower Hospital Prices, 30(9) Health Affairs 1728, 1729-31

                          (2011).

                   c.     Another study of hospital mergers found that “[i]ncreases in hospital

                          market concentration lead to increases in the price of hospital care.”

                          Martin    Gaynor      and    Robert   Town,    The    Impact    of   Hospital

                          Consolidation—Update, Robert Wood Johnson Foundation, THE

                          SYNTHESIS PROJECT (June 2012) at 1.

            120.   Enforcement of the noncompetes and nonsolicitation clause would also harm

   competition because it would require patients to forego the choice of care at Holy Cross, despite

   its extremely high quality services in surgery and cardiology procedures described above, all of

   which make it a very significant competitor in the relevant markets. Diversion of cases away

   from Holy Cross would deprive patients of the opportunity to benefit from these high quality

   services and suppress quality competition.

            121.   This harm to competition in the relevant surgery and heart procedure markets is

   inextricably intertwined with Defendants’ demands. That is because Holy Cross faces a

   “Hobson’s choice.” If it gives in to those demands, it would be forced to pay exorbitant rates for

   inadequate anesthesia staffing. If it does not, the noncompetes and nonsolicitation clauses would

   cause it to lose its only source of substantial anesthesia care, and therefore the loss of surgeries,

   heart procedures and other procedures described above. Its damages would also reflect the




                                                      34
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 35 of 41




   anticompetitive effects of Defendants’ actions, because of the significant decrease in competition

   in these relevant markets that would result.

            122.   In fact, Defendants intend that Holy Cross face this Hobson’s choice. Their

   leverage, and their ability to make unreasonable demands, arises because they know that the

   noncompetes and nonsolicitation clause preclude Holy Cross from having any reasonable

   alternative source of anesthesia providers. Therefore, Holy Cross is forced to either accept

   Defendants’ demands or suffer significant loss of procedures requiring anesthesia.

    Defendants’ Noncompete Agreements and the Nonsolicitation Clause Do Not Provide Any
           Procompetitive Benefits and Do Not Serve a Reasonable Business Interest

            123.   Defendants’ noncompete agreements with American Anesthesiology’s providers

   and nonsolicitation clause do not serve any reasonable or legitimate business interest. They do

   not serve to protect any confidential information possessed by these providers, since none of the

   information possessed by them is at all confidential to Defendants. Defendants have not taken

   any steps to keep any information confidential. Defendants also have not claimed to Holy Cross

   personnel that any of their information is confidential. Nor does the Agreement purport to protect

   (or even address) the confidentiality of any information possessed by American Anesthesiology

   or other Defendants.

            124.   Defendants do not possess any unique customer information or goodwill. The

   patients the anesthesia providers see are provided by the hospital. Defendants do not advertise

   their providers’ services to prospective patients. Nor do they keep any confidential patient lists or

   have any hospital patients of their own.

            125.   Defendants do not provide their anesthesia providers with significant specialized

   training. The anesthesia providers all received specialized training before becoming employed by




                                                    35
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 36 of 41




   Defendants. Many of the providers were employed by other firms before NAPA took over the

   Holy Cross practice.

            126.   Nor do the anesthesia providers possess any trade secrets. Defendants do not

   utilize any proprietary systems at Holy Cross. Scheduling is performed by Holy Cross.

   Defendants provide their services using industry standard technology. Defendants utilize

   scheduling software, but anesthesia scheduling software products are readily available for sale

   and St. Joseph’s affiliates at Trinity Health already utilize such products.

            127.   There are no procompetitive justifications for Defendants’ actions. Even

   assuming, arguendo, and contrary to the allegations above, that the noncompetes provided some

   benefits to Defendants, they would not create any procompetitive effects in the relevant markets.

            128.   For these reasons, while noncompetition clauses are common in physician

   contracts involving other specialties to protect against unfair appropriation of patient

   relationships, those justifications do not apply at all to anesthesia providers.

            129.   All these conclusions apply equally to the nonsolicitation clause. Defendants’

   significant and repeated breaches of the Agreement’s requirements regarding anesthesia staffing

   are among the reasons why Holy Cross has found it necessary to seek to employ the anesthesia

   providers.

            130.   Harm to Holy Cross from the enforcement of the noncompetes and nonsolicitation

   clause would be far less than the harm that Defendants would suffer if they were not able to

   employ these physicians. That is because (as described above) revenues involved in hospital

   treatment of patients for cases requiring anesthesia care far exceeds the revenues that involved in

   anesthesia care.

                                     COUNT I
                          UNLAWFUL AGREEMENT IN VIOLATION OF


                                                     36
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 37 of 41




                                         SHERMAN ACT § 1
                                     Relevant Anesthesia Markets

            131.    Holy Cross repeats and realleges the allegations of paragraphs 1 through 81, 91

   through 97 and 100 through 127 above, as if fully restated herein.

            132.    Each of the noncompete agreements between Defendants and their anesthesia

   providers, as well as the nonsolicitation clause, is a contract, combination, and conspiracy within

   the meaning of the Section 1 of the Sherman Act, 15 U.S.C. § 1.

            133.    Defendants possess significant market power in the relevant anesthesia markets.

   This is demonstrated by their high market share, the high barriers to entry into the market, and

   Defendants’ ability to exclude competition by the use of their noncompetes and nonsolicitation

   clauses.

            134.    The noncompete clauses and nonsolicitation clause have had, and if further

   enforced would continue to have, substantial and unreasonable anticompetitive effects in the

   relevant anesthesia markets as set forth above.

            135.    The noncompete agreements and nonsolicitation clause therefore have, and

   threaten to continue to, unreasonably restrain trade in violation of Section 1 of the Sherman Act,

   15 U.S.C. § 1.

            136.    As a direct and proximate result of Defendants’ actual and threatened violations

   of Section 1 of the Sherman Act and the anticompetitive effects thereof, Holy Cross has suffered

   and would continue to suffer substantial harm to its business and property, including the

   damages resulting from inadequate staffing and exorbitant charges described herein.

                                          COUNT II
                          UNLAWFUL AGREEMENT IN VIOLATION OF
                                       SHERMAN ACT § 1
                          Relevant Surgery and Cardiac Procedure Markets



                                                     37
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 38 of 41




            137.    Plaintiffs repeat and reallege the allegations of paragraphs 1 through 127 above,

   as if fully restated herein.

            138.    Each of the noncompete agreements between Defendants and their anesthesia

   providers, as well as the nonsolicitation clause, is a contract, combination, and conspiracy within

   the meaning of Section 1 of the Sherman Act, 15 U.S.C. § 1.

            139.    Enforcement of the noncompete clauses and nonsolicitation clause have caused

   and threaten to cause substantial and unreasonable anticompetitive effects in each of the relevant

   surgery and cardiac procedures markets in Broward County as set forth above.

            140.    The noncompete agreements and nonsolicitation clause therefore threaten to

   unreasonably restrain trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

            141.    As a direct and proximate result of Defendants’ actual and threatened violations

   of Section 1 of the Sherman Act and the anticompetitive effects thereof, Holy Cross has suffered

   and would continue to suffer substantial harm to its business and property, including the

   damages resulting from inadequate staffing and exorbitant charges described herein.

                                       COUNT III
                            VIOLATION OF FLORIDA ANTITRUST ACT

            142.    Plaintiffs repeat and reallege the allegations of paragraphs 1 through 138 above,

   as if fully restated herein.

            143.    Defendants’ actions occurred in and substantially affected Florida’s intrastate

   commerce, involving services provided by Florida anesthesia providers, hospitals and doctors to

   patients in Florida.

            144.    Defendants’ actions have violated and threaten to continue to violate the Florida

   Antitrust Act, Fla. Stat. §542.18.

                                   COUNT IV
                REQUEST FOR DECLARATORY JUDGMENT UNDER FLORIDA LAW

                                                   38
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 39 of 41




            145.   Plaintiffs repeat and reallege the allegations of paragraphs 1 through 69 and 120

   through 127 above, as if fully restated herein.

            146.   In order to prove that a noncompete covenant or nonsolicitation clause is

   enforceable under Florida law, Defendants must show the clause is reasonably necessary to

   protect a legitimate business interests, including trade secrets, customer or patient relationships

   or extraordinary or specialized training. Additionally, the clause must be otherwise reasonable.

   Fla. Stat. §542.335(1). The noncompete and nonsolicitation clauses do not meet any of these

   requirements. They serve no purpose except to restrict competition and provide Defendants with

   market power. They are therefore unenforceable pursuant to Fla. Stat. § 542.335(1)(b).

            147.   Additionally, and for the same reasons, Defendants are precluded from any claim

   under the nonsolicitation clause pursuant to Fla. Stat. § 542.335(1)(b), as well as by virtue of

   their breaches of the Agreement as set forth above.

                                             COUNT V
                                         BREACH OF CONTRACT

            148.   Holy Cross repeats and realleges the allegations of paragraphs 1 through 69

   above, as if fully restated herein.

            149.   Paragraph II.D of the Agreement provided that American Anesthesiology had an

   obligation to provide sufficient coverage to meet Holy Cross’ needs as explained in the

   Agreement. Paragraph 4 of the Second Amendment to the Agreement and of the Third

   Amendment to the Agreement each provided that American Anesthesiology is responsible to

   make commercially reasonable efforts to provide the staffing requested by Holy Cross.

   Paragraph 5 of the Fourth Amendment to the Agreement provides that any deviations in

   coverage must be temporary, must not materially impact hospital operations, and must reflect the

   best efforts of American Anesthesiology.


                                                     39
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 40 of 41




            150.   Defendants’ staffing failures described above constitute breaches of these

   provisions of the Agreement, which have damaged Holy Cross.

                                          REQUEST FOR RELIEF

            WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

                   a.      Require that Defendants release their employees practicing at Holy Cross

                           from any restrictions on their employment by Holy Cross;

                   b.      Issue a declaratory judgment finding that Defendants’ noncompetition

                           clauses and the nonsolicitation clause in the Agreement violate federal and

                           Florida antitrust laws to the extent that they are utilized to prevent the

                           anesthesia providers from becoming employed by Holy Cross;

                   c.      Issue a declaratory judgment finding that Defendants’ noncompetition

                           clauses in their agreements with their anesthesia providers and the

                           nonsolicitation clause in the Agreement are unreasonable and do not serve

                           any legitimate business interest, and are therefore unenforceable under

                           Florida law;

                   d.      Grant Holy Cross three times its damages suffered as a result of

                           Defendants’ exploitation of their market power resulting from their use of

                           the noncompetes and nonsolicitation clause;

                   e.      Grant Holy Cross its damages suffered as a result of Defendants’ breach of

                           contract;

                   f.      Award Holy Cross its taxable costs and reasonable attorneys’ fees; and

                   g.      Grant such other relief as this Court finds just.

                                       DEMAND FOR JURY TRIAL

            Plaintiffs hereby demand a trial by jury on all issues so triable.

                                                      40
   56324350.5
Case 0:24-cv-60315-DSL Document 52 Entered on FLSD Docket 06/24/2024 Page 41 of 41




   Dated: June 24, 2024                s/Peter R. Goldman
                                       Peter R. Goldman (FL Bar No. 86056)
                                       Nelson Mullins Riley & Scarborough LLP
                                       100 S.E. 3rd Ave., Suite 2700
                                       Fort Lauderdale, FL 33394
                                       (954) 745-5239 (p)
                                       (954) 761-8135 (f)
                                       peter.goldman@nelsonmullins.com

                                       s/David A. Ettinger
                                       David A. Ettinger (P26537) (pro hac vice)
                                       Benjamin VanderWerp (P84614) (pro hac vice)
                                       Honigman LLP
                                       2290 First National Building
                                       660 Woodward Avenue
                                       Detroit, MI 48226
                                       (313) 465-7368 (p)
                                       (313) 465-7369 (f)
                                       dettinger@honigman.com
                                       bvanderwerp@honigman.com




                                        41
   56324350.5
